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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,

               v.
                                                         21-CR-10104-PBS/MBB
VLADISLAV KLYUSHIN,

 a/k/a “Vladislav Kliushin”

               Defendant.

               MEMORANDUM OF THE UNITED STATES OPPOSING
          APPEAL OF MAGISTRATE JUDGE’S PRETRIAL DETENTION ORDER

       Little has changed since December 2021, when the government offered the following

assessment of the defendant’s risk of flight:

       Cantonal authorities arrested defendant Vladislav Klyushin in March 2021, minutes after
       he arrived by private jet in Sion, Switzerland. A helicopter had been waiting on the
       tarmac to take him and his party to Zermatt, an exclusive ski resort nearby. The
       defendant, who is accused of making tens of millions of dollars on illegal stock trades
       using financial information stolen from U.S. computer networks, was detained in
       Switzerland, where he vigorously opposed his extradition. So did the Russian
       government, a customer of the defendant’s Moscow-based company, M-13, which offers
       services that emulate computer network attacks.

       Now extradited to the United States—a country with which he has no ties—the defendant
       faces charges and a Guidelines sentencing range that could imprison him for more than
       20 years. The defendant’s lack of ties to this District, the seriousness of his offense, his
       immense wealth, his ties to the Russian government, and that government’s stated desire
       to return him home all combine to create a serious risk that the defendant will flee the
       United States, will not appear for trial, and will return to Russia—a country with which
       the United States has no extradition relationship. Under these circumstances, there is no
       combination of conditions that will reasonably assure the defendant’s appearance, and the
       Court should detain him pending trial.

(Docket No. 23 at 1-2).

       The defendant still has no familial, professional, or community ties to the United States.

All of those ties are with Russia, the country that vigorously opposed his extradition here. As



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noted below, the defendant is not simply a citizen of Russia. He has significant ties to its

leadership and its military intelligence community, and he claimed to a co-conspirator the ability

to obtain aliases that would permit foreign travel. The defendant’s significant wealth remains

abroad and cannot be reliably verified. And he continues to face a lengthy term of imprisonment

in a prosecution supported by substantial evidence.

       For these reasons, the Court should find by a preponderance of the evidence (as

Magistrate Judge Bowler did) that no condition or combination of conditions will reasonably

assure the defendant’s appearance at trial. See 18 U.S.C. § 3142(e).

       I.       Background

       The Indictment charges the defendant and two other Russian nationals, Ivan Ermakov

and Nikolai Rumiantcev, for their roles in a conspiracy to obtain unauthorized access to

computer networks, and to commit wire fraud and securities fraud. (Indictment, Docket No. 8).

Between approximately January 2018 and September 2020, the defendant, Ermakov,

Rumiantcev, and others used stolen usernames and passwords to access the computer networks

of Filing Agent 1 (“FA 1”) and Filing Agent 2 (“FA 2”), and to view and download material

non-public information (“MNPI”) about the financial performance of publicly traded companies,

before that information was filed with the Securities and Exchange Commission (“SEC”) or

announced to the general public. Armed with that information, the defendants and others

enriched themselves by trading in the securities of those companies, generating tens of millions

of dollars in profits. (Indictment, ¶ 12).1




       1
        An SEC complaint charging five co-conspirators with the scheme alleged in the
Indictment pegs the total profits from the hack-to-trade scheme at approximately $82.5 million.
SEC v. Klyushin et al., 21-cv-12088 (D. Mass. filed Dec. 20, 2021), Docket No. 1 at 2.

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       II.     The Defendant Has No Ties to the District of Massachusetts

       As letters from the defendant’s family, friends, and employees illustrate, all of his family,

educational, community, professional, and charitable ties—factors the Court must consider under

18 U.S.C. § 3142(g)(3)(a)—are to Russia. (Docket Nos. 48-1 through 48-7). There is no

comparable network of friends or family who could serve here as third-party custodians; no

employment that he could be ordered to seek or maintain; and no residence to which he could be

ordered confined. Any ties to this District would be ones that the defendant purchased. See

United States v. Acherman, 2015 WL 4576926 (D. Mass. Jul. 3, 2015) (Sorokin, J.) (rejecting

proposal that private security firm secure defendant’s home confinement at a cost of

approximately $35,000 per month). Even accepting the integrity and intent of the defendant’s

chosen vendor, a determined adversary with the resources of a global superpower (as described

below) could find a way to smuggle the defendant out of town. See United States v. Morrison,

2009 WL 2973481, *6 (E.D.N.Y. Sept. 10, 2009) (“even if I accept the often disputed

proposition that a defendant’s willingness to replicate a jail within his home falls within the

ambit of what the Congress intended in enacting [the Bail Reform Act], defendant has not

assuaged my perception that he is one of the presumably few individuals capable, both by way of

ability and mind-set, of defeating such replication measures”).

       III.    The Defendant Claims Access to the Resources of the Russian
               Intelligence Community

       On May 7, 2019, during the time of the charged conspiracy, the defendant exchanged

WhatsApp messages with his co-defendant, Ermakov, regarding foreign travel. At the time,

Ermakov—himself a former Russian military intelligence officer—was subject to two

indictments here in the United States that would make foreign travel risky: one for his alleged

role in a hacking and influence effort related to the 2016 U.S. elections, and a second for hacking

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and related disinformation operations targeting international anti-doping agencies, sporting

federations, and anti-doping officials. As set forth below (as translated from the Russian), the

defendant suggested that it would be “Easy” for Ermakov to travel under a “different full name”;

that the defendant could arrange the travel himself; and that the defendant had “checked with

DVKR”—which is an acronym for the Department of Military Counterintelligence within

Russia’s federal security service, the Federalnaya Sluzhba Bezopasnosti (“FSB”).




       This conversation, in which the defendant claims both access to the DVKR and the

ability to arrange travel under a different full name, bears directly on the risk that he will flee the

United States, as the defendant himself concedes. Def. Mem. at 16 (“Evidence supporting a

finding of a serious risk of flight includes skill in avoiding surveillance, prior flight from law

enforcement, and use of aliases.”)

       Nor is the defendant’s reference to the DVKR an isolated connection to Russia’s

government and leadership. The defendant is not simply one of Russia’s approximately 144

million citizens. He holds the below-pictured Medal of Honor, awarded in June 2020 by the

president of the Russian Federation, Vladimir Putin.




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       The defendant received a separate award from the FSB (Russia’s federal security service

and a successor to the KGB) on November 27, 2017. Pictured below, and as translated from the

Russian, that citation states: “We express our sincere gratitude to you for the productive and

effective collaboration in ensuring security of the Russian Federation in the information sphere.”

The award is signed by the Deputy Director of the FSB, General Colonel A.N. Kupryazhkin.




       In the same image but on the right, the defendant is pictured at an event that appears to

commemorate Mikhail Kalashnikov, the inventor of the rifle bearing his name. The defendant

appears next to (and shaking hands with) one of Russia’s First Deputy Ministers of Defense,

Ruslan Khadzhismelovich Tsalikov.

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        The defendant also possessed a photo of a personally engraved lithograph depicting FSB

headquarters dated the same day that he received the award above, November 27, 2017.




The defendant is accordingly an individual with significant ties to the Russian government, and,

more specifically, to parts of the Russian government engaged in defense and counter-espionage.

It is those ties, and not his citizenship alone or the lack of an extradition treaty with Russia, that

combine with the other Bail Reform Act factors to create a serious risk that he will flee. See,

e.g., United States v. Boustani, 356 F. Supp.3d 246, 255 (E.D.N.Y. 2019) (“Each factor is not

considered in isolation. … The combination of Defendant’s alleged deceptive actions, access to

substantial financial resources, frequent international travel, complete lack of ties to the United

States, and extensive ties to foreign countries without extradition demonstrate defendant poses a

serious risk of flight”).2

        IV.     The Defendant’s Wealth is Unaccounted For

        In rejecting the defendant’s application for bail, the appellate chamber of the Swiss

        2
          Before Magistrate Judge Bowler ordered the defendant detained, the defendant
produced a letter from the Russian Consulate in which that body committed not to help the
defendant flee. Judge Bowler noted in ordering the defendant detained that she had not received
such a consular letter in her more than 30 years on the bench. The letter, whatever its content,
reinforces the government’s fear that defendant Klyushin is a citizen with special access to the
capabilities of the Russian government.

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from member firms within Russia) (last visited April 21, 2022). The Court cannot fashion

reasonable checks on the defendant without knowing the true extent of his finances—and the true

extent of his finances are impossible to know or verify. See United States v. Anderson, 382 F.

Supp.2d 13, 17 (D.D.C. 2005) (finding significant risk of flight where millions of dollars in

assets at one time controlled by defendant or his corporations “remain unaccounted for

overseas”).

       V.      Substantial Evidence Supports the Charges in the Indictment

       The evidence in this case amply demonstrates the defendant’s involvement in the

conspiracy charged in the Indictment.

       As set forth in the Complaint, on October 24, 2018—just hours after intruders gained

unauthorized access to Tesla’s draft earnings release on FA 2’s network, and the same day that

the defendant and a co-conspirator, Mikhail Irzak, purchased shares of Tesla in their respective

brokerage accounts, the defendant sent the following message to two individuals whose

investment accounts M-13 controlled (and whose accounts had traded in parallel with the

defendant and Irzak): “Pay attention to shares of Tesla now and tomorrow after 16:30 and on

how much they go up.” The defendant sent this message when Tesla’s financial results were still

non-public. Tesla later reported positive third quarter results after the market closed that day.

(Compl. Aff. ¶¶ 72-73).4

       The defendant and Ermakov later congratulated each other on profits they had earned for



       4
         It is irrelevant that the defendant claims not to know all of the other traders personally.
A defendant charged with conspiracy need only share its object, not have an encyclopedic
knowledge of its participants and each of its overt acts. It is nevertheless curious that the
defendant claims to know the travel and financial affairs of co-conspirators whom he says he
does not know. (Docket No. 48 at 10) (claiming that the government has not pursued Irzak and
Sladkov, who, “upon information and belief”, have travelled internationally).

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the M-13 investors. In a text message exchange approximately seven months after the Tesla

trading, the defendant reported to Ermakov that one investor had made profits of close to $1

million over that period, nearly tripling his investment, and that a second had made profits of

close to $700,000, nearly doubling his investment. The defendant added: “They don’t even ask

why so anymore [smile].” (Compl. Aff. ¶ 77).

       The government has also previously described text messages in which the defendant and

Ermakov discuss making money not by working, but by “just turn[ing] on the computer”.

(Docket No. 23 at 8).

       Beyond communications summarized in the charging documents, however, the

voluminous evidence in this case includes communications among the conspirators over

encrypted messaging platforms in which they discuss their criminal conspiracy in raw,

unvarnished terms. As just one example, in the exchange set forth below, the defendant’s two

co-defendants, Ermakov and Rumiantcev, discuss an elaborate subterfuge to conceal the illicit

source of the material non-public information on which they are trading, in order to make it seem

that their trades are the product of genuine research based on “open source[s]” and “mass media

analysis”:

  Author                                Content                                 Date/Time (ET)

Rumiantcev Thoughts are: we have a system for the mass media                2/1/2019 2:32:59 PM
           analysis, which collects data from the media and social
           networks. We will modify it somehow so that a third-
           party analyst would think the materials have been
           found in an open source. Then we will look for an
           analyst through our acquaintances and will try to offer to
           him to make a forecast perhaps on ten securities. In case
           he will work well - we will lure him in to work for us.

Rumiantcev We will be adapting the raw material while preserving the        2/1/2019 2:33:59 PM
           essence, but there would be no chance of passing it AS
           IS.


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Rumiantcev I think that it may work out that we will produce a test      2/1/2019 2:34:52 PM
           system in a couple of months.
Ermakov    The main problem here is that should he realize that the      2/1/2019 3:05:57 PM
           data is real, he could start using it on the side or be
           selling it.
Rumiantcev I don’t think one can hedge of all risks 100%. A broker       2/1/2019 3:09:34 PM
           resolves similar issues by signing confidentiality
           agreements - in fact there are managers who see all the
           transactions of all customers.

Rumiantcev And if we want to really protect ourselves, we can            2/1/2019 3:10:38 PM
           create fake documents to mix with the real or just old
           ones - in this case they would lose their values; after
           all, only we will know what forecasts are based on real
           data


These messages demonstrate that the conspiracy was trading on “real data”, as the Indictment

alleges.

       In a later exchange, Ermakov and Rumiantcev warned the defendant to be more careful

with his electronic communications—despite the fact that they were speaking over an encrypted

messaging platform—lest he “end up as a defendant in a court room.”

  Author                              Content                              Date/Time (ET)

Klyushin       So…                                                     7/18/2019 4:31:42 PM
Klyushin       What did we earn today?                                 7/18/2019 4:31:50 PM
Klyushin       [Photograph of investor]                                7/18/2019 4:32:05 PM
Ermakov        About 350 and another 350 in the mind.                  7/18/2019 4:32:14 PM
Klyushin       [Photograph of second investor]                         7/18/2019 4:32:15 PM
Ermakov        Sasha [Aleksandr] the most among the rest               7/18/2019 4:32:27 PM
Klyushin       Our comrades are wondering)                             7/18/2019 4:32:29 PM
Ermakov        Vlad, you are exposing our organization. This is bad.   7/18/2019 4:32:41 PM
Rumiantcev Vlad stop sending to [encrypted chat application]           7/18/2019 4:32:44 PM
Klyushin       So sorry.                                               7/18/2019 4:32:50 PM



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Ermakov        And that's how they get you and you end up as a          7/18/2019 4:32:58 PM
               defendant in a court room.
Klyushin       Removed.                                                 7/18/2019 4:33:02 PM
Klyushin       Open a chat with us already.                             7/18/2019 4:33:17 PM
Ermakov        Go ahead and create.                                     7/18/2019 4:33:29 PM
Ermakov        It was a bad move now.                                   7/18/2019 4:33:59 PM
Klyushin       Sorry                                                    7/18/2019 4:36:02 PM
Klyushin       Did a dumb thing.                                        7/18/2019 4:36:15 PM
Rumiantcev I suggest to re-create the chat with the deletion of     7/18/2019 4:39:28 PM
           attachments in [encrypted chat application] or switch to
           ours if ready.
Klyushin   I will delete this one on my end                         7/18/2019 4:39:52 PM



         The FBI located these messages among Rumiantcev’s electronic communications, and

not the defendant’s, which suggests that the defendant did exactly what he said he would do:

delete the incriminating messages.

   VI.      The Defendant Faces a Substantial Sentence Under the Guidelines

         The government has not “improperly inflate[d] the gravity of the claimed offenses.” The

three substantive offenses with which the defendant is charged—violations of 18 U.S.C. § 1343

(wire fraud), 18 U.S.C. § 1030(a)(4) (unauthorized access to computers), and 15 U.S.C. § 78j(b)

& 78ff(a) (securities fraud)—are each referred by the Guidelines’ Appendix A to U.S.S.G.

§ 2B1.1. The losses from these counts would group under § 3D1.2(d), as would (as the

defendant points out) the substantial damage the defendant and his co-conspirators caused the

Filing Agent victims. The government respectfully submits that its Guidelines estimate of 262 to

327 months is appropriate. Even under the defendant’s proposed calculation, based simply on

the conspiracy’s gains from his trading, the defendant faces a Guidelines sentencing range of

between 121 and 151 months in prison, which alone (and especially in combination with the


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other Bail Reform Act factors) would create a substantial motive to flee.

       VII.     The Defendant Has Extraordinary Access to Counsel and Discovery

       As a final ground for release, the defendant argues that his pre-trial detention deprives

him of access to counsel and curtails his ability to review discovery. (Def. Mem. at 22-23).

       The government agrees that it has produced substantial discovery to the defendant,

including electronic communications among the defendant, Ermakov, and Rumiantcev. That the

discovery is substantial, however, and that defendant estimates it would take him more than

twenty years to review the production, does not counsel his release.

       As an initial matter, it is not realistic for any party to this case to review, page by page,

each of the million-plus files produced. The government has produced an index of the discovery

as required by Local Rule 116.10. It has also, at six-figure expense, contracted to re-produce the

entire production in a searchable, Bates-stamped format. In the interim, while the government’s

contractor prepares that database (which it will share with the defense in a load-ready format),

the government has also produced both searchable Cellebrite extractions and searchable

spreadsheets of the defendant’s, Ermakov’s and Rumiantcev’s electronic communications.5 By

the time of the hearing in this matter, the government will have also produced an extraction of

key documents (and a further index of where within the automatic discovery production they

may be found). In short, the defendant and his counsel have access to substantially all of the

discovery in the same format that the government does. Where that is not the case, the defendant



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          The defendant questions the accuracy of these reports (and more generally the reliability
of the automatic discovery) because they contain a copy of Judge Bowler’s digital signature, Def.
Mem. at 25 & Exh. 12. Simply put, her signature (and the digital signature of FBI Special Agent
Kang, the affiant) appear within the reports because Apple re-produced the warrant and related
paperwork to the government after having been served with those documents, as part of its
response to the warrant, and the government, in turn, produced them to the defense.

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has made discovery requests that the government has responded to, such as by undertaking to

convert pen register and trap and trace data to a searchable format.

       Officials at the Plymouth County House of Corrections (“PCH”) have advised that

defendant has extraordinary access to both his counsel and the substantial discovery. Although

PCH detainees typically receive 6 hours of access to discovery per week, PCH has provided the

defendant with more than three times that amount, making available a total of 20 hours per week

of discovery access time. Nevertheless, access logs indicate that, despite claiming an inability to

access discovery in the case, the defendant rarely takes advantage of this additional time and has

never used all of his allotted weekly hours. (Exhibit B hereto). The defendant also has and uses

two hours of daily telephone access to counsel—time that is separate from what PCH provides

for review of discovery. On this record, it is incorrect to suggest that the defendant is not being

given a meaningful and reasonable opportunity to participate in his defense.

       The defendant similarly asserts that the facility has not permitted him to use Russian

translation software “or other software necessary to aid his review.” PCH officials advise that

they have installed both Babylon translation software (on April 15, 2022) and Sysinfo SQL

Viewer, a specialized reading software needed to review SQLite databases (on March 31, 2022).

As noted above, the government has also voluntarily processed and reproduced portions of the

automatic discovery—including otherwise encrypted messages among the defendant and his co-

conspirators—into files that can be accessed with standard Microsoft software.6

       In summary, the defendant has been in custody in the United States for only four months.

The government has produced automatic discovery; it is responding to discovery requests; and it



       6
        PCH has, for security reasons, declined to provide the defendant with a keyboard that
bears Cyrillic lettering.

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has undertaken at significant expense the process of facilitating and simplifying the defendant’s

access to the evidence in the case. The defendant, who has access that exceeds what detainees

typically receive, does not present a record on which the Court should bypass all of the risks

associated with his release. See United States v. Ho, 2016 WL 5875005, *9 (E.D. Tenn. Oct. 7,

2016) (rejecting relationship between “complex facts and discovery” and “whether the defendant

will appear”).




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                                         CONCLUSION

       The government respectfully submits that it has demonstrated by a preponderance of the

evidence that no condition or combination of conditions of release will reasonably assure the

defendant’s appearance at trial. The defendant is here against his will, and against the will of his

government. There is little to suggest that a significant bond, a location monitoring device, or a

bought-and-paid for security service would adequately assure the defendant’s appearance. If the

defendant flees to Russia, whether by air, sea, or land crossing, there will be no mechanism for

the United States to secure his return, and none of the three defendants would face charges in this

case. See United States v. Dermen, 779 Fed. Appx 497 (10th Cir. 2019) (reporting district

court’s flight risk finding based on, among other things, the defendant’s ownership of a yacht,

overseas bank accounts, overseas residence, access to a private plane; and the Turkish

President’s public commitment not to honor extradition requests from the United States). Under

these circumstances, the Court should affirm Magistrate Judge Bowler’s order of detention.

                                                      Respectfully submitted,

                                                      RACHAEL S. ROLLINS
                                                      United States Attorney

                                                      By: __/s/Seth B. Kosto________________
                                                      STEPHEN E. FRANK
                                                      SETH B. KOSTO
                                                      Assistant U.S. Attorneys

                                                      Date: April 22, 2022




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                                 CERTIFICATE OF SERVICE

        The undersigned Assistant United States Attorney hereby certifies that a true copy of the
Memorandum of the United States Opposing Appeal of Magistrate Judge’s Pretrial Detention
Order will be served on counsel of record in this matter through the Court’s Electronic Case
Filing system.

                                                    /s/Seth B. Kosto__________________
                                                    SETH B. KOSTO
                                                    Assistant United States Attorney

                                                    April 22, 2022




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